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                 UNITED STATES BANKRUPTCY COURT
                 DISTRICT OF NEW JERSEY
                 Caption in Compliance with D.N.J. LBR 9004-1(b)
                 OBERMAYER REBMANN MAXWELL & HIPPEL LLP
                 Edmond M. George, Esquire
                 Michael D. Vagnoni, Esquire
                 (pro hac vice pending)
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                           turner.falk@obermayer.com

                 Proposed Counsel to the Debtor
                 and Debtor in Possession

                 In re:                                                            Chapter 11

                 ALUMINUM SHAPES, L.L.C.,                                          Case No. 21- _______ - (   )

                                                Debtor.


                                 APPLICATION FOR RETENTION OF PROFESSIONAL

            1.        The applicant, Aluminum Shapes, L.L.C. (the “Applicant” or “Debtor”), is the (check all
                      that apply):

                              Trustee:              Chap. 7             Chap. 11        Chap. 13.

                              Debtor:               Chap. 11            Chap. 13

                              Official Committee of _______________________

            2.        The Applicants seek to retain the following professional, Cowen and Company, LLC

                      (“Cowen”), to serve as (check all that apply):

                              Attorney for:               Trustee             Debtor-in-Possession

                              Official Committee of

                              Accountant for:             Trustee             Debtor-in-possession



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                              Official Committee of

                              Other Professional:

                                        Realtor          Appraiser       Special Counsel

                                        Auctioneer       Other (specify): Investment banker

            3.       The employment of the professional is necessary because:

                     Applicant’s desire to retain Cowen as Investment Banker is necessary for its bankruptcy

                     reorganization and to assist the Applicant in its financial investments and strategic

                     restructuring.

            4.       The professional has been selected because:

                     Cowen’s professionals have extensive experience and knowledge of mergers,

                     acquisitions, joint ventures, and strategic restructurings. The Debtor believes that

                     Cowen’s general restructuring experience and expertise, knowledge of the capital markets

                     and its merger, and acquisition capabilities will inure to the Debtor's benefit in pursuing

                     any Restructuring, Financing, or Sale. The value to the Debtor of Cowen’s services

                     hereunder derives in substantial part from that expertise and experience. Accordingly, the

                     structure and amount of the deferred fees, including the Restructuring Fee, Financing Fee,

                     and Sale Fee is reasonable regardless of the number of hours to be expended by Cowen’s

                     professionals in the performance of the services to be provided hereunder, and the

                     deferred fees shall not be considered to be “bonuses” or fee enhancement under

                     applicable law.

            5.       The professional services to be rendered are as follows:

                          a) Assist the Debtor in analyzing its business, operations, properties, financial

                              condition, and prospects;



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                          b) Assist the Debtor in its analysis and consideration of financing alternatives

                              available to the Debtor;

                          c) Assist the Debtor in identifying and evaluating parties that may be interested in a

                              Financing and/or a Sale;

                          d) Advise the Debtor on tactics and strategies for negotiating with potential

                              Investors, potential parties to a Sale, and Stakeholders, and if requested by the

                              Debtor, participate in such negotiations;

                          e) Assist the Debtor in preparing materials describing the Debtor for distribution and

                              presentation to parties that might be interested in a Financing and/or a Sale;

                          f) Advise the Debtor on the timing, nature, and terms of new securities, other

                              consideration or other inducements to be offered pursuant to any Restructuring;

                          g) Render financial advice to the Debtor and participate in meetings or negotiations

                              with Stakeholders and/or rating agencies or other appropriate parties in

                              connection with a Restructuring;

                          h) Attend meetings of the Debtor’s Board of Directors (or similar governing entity)

                              and its committees with respect to matters on which Cowen has been engaged to

                              advise the Debtor;

                          i) Provide oral and written testimony, as necessary, with respect to matters on which

                              Cowen has been engaged to advise the Debtor in any proceeding before the

                              Bankruptcy Court; and

                          j) Render such other financial advisory services as may from time to time be agreed

                              upon by Cowen and the Debtor.

            6.       The proposed arrangement for compensation is as follows:




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                     Compensation will be paid based on a monthly flat fee of $75,000.00, and reimbursement

                     for all actual out-of-pocket expenses incurred in connection with this engagement, as

                     approved by the Court upon application. Additional fees will be payable upon the

                     closing of a Financing, the consummation of a Restructuring, and/or the consummation of

                     any Sale, as approved by the Court upon application.

            7.       To the best of the Applicant’s knowledge, the professional’s connection with the Debtor,
                     creditors, any other party in interest, their respective attorneys and accountants, the
                     United States trustee, or any person employed in the office of the United States trustee, is
                     as follows:

                              None.

                              Describe connection:

            8.       To the best of the Applicant’s knowledge, the professional (check all that apply):

                           does not hold an adverse interest to the estate.

                        does not represent an adverse interest to the estate.

                        is a disinterested person under 11 U.S.C. § 101(14).

                        does not represent or hold any interest adverse to the Debtor or the estate with

                     respect to the matter for which he/she will be retained under 11 U.S.C. § 327(e).

                         Other; explain:

            9.       If the professional is an auctioneer, appraiser, or realtor, the location and description of

                     the property is as follows:

            The Applicant respectfully requests authorization to employ the professional to render services in
            accordance with this application, with compensation to be paid as an administrative expense in
            such amounts as the Court may determine and allow.


                    8/15/2021
            Date:
                                                             Solomon Rosenthal
                                                             Chief Executive Officer



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